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     CLARE E. CONNORS, in her
     Official Capacity as the Attorney
     General of the State of Hawaii

                      IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAW All

     TODD YUKUTAKE and DAVID                   CIVIL NO. 19-00578 JMS-RT
     KIKUKAWA,
                                               DEFENDANT CLARE E.
                         Plaintiffs,           CONNORS, IN HER OFFICIAL
                                               CAPACITY AS THE ATTORNEY
                vs.                            GENERAL OF THE STATE OF
                                               HAWAII'S RESPONSE TO
     CLARE E. CONNORS, in her                  PLAINTIFFS' FIRST SET OF
     Official Capacity as the Attorney         INTERROGATORIES TO
     General of the State of Hawaii and        DEFENDANT CLARE E.
     the CITY and COUNTY OF                    CONNORS
     HONOLULU,

                         Defendants.           Trial Date: January 12, 2021



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                                       Exhibit "A"
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            DEFENDANT CLARE E. CONNORS, IN HER OFFICIAL
             CAPACITY AS THE ATTORNEY GENERAL OF THE
           STATE OF HAWAII'S RESPONSE TO PLAINTIFFS' FIRST
        SET OF INTERROGATORIES DEFENDANT CLARE E. CONNORS

                Defendant Clare E. Connors, in her Official Capacity as the Attorney

     General of the State of Hawaii ("Defendant"), by and through her attorneys,

     Caron M. Inagaki, Kendall J. Moser, and Ryan M. Akamine, Deputy

     Attorneys General, hereby responds to Plaintiffs' First Set of Interrogatories

     to Defendant Clare E. Connors ("Discovery Request") as follows:

                        GENERAL RESPONSES AND OBJECTIONS

                1.    Defendant objects to the interrogatories in the Discovery

     Requests to the extent that it asks for the disclosure of privileged

     communications, information that is protected work product, and

     information concerning documents and tangible things prepared in

     anticipation of litigation or trial.

                2.    Discovery, investigation, and trial preparation have not been

     completed. Any and all answers to the Discovery Requests are based only

     on information and documents available to Defendant at the time that his

     responses and objections were prepared.

                3.    All specific responses and objections are made without waiving

     any of the general responses and objections.



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                 DATED: Honolulu, Hawaii, February 21, 2020.



                                        STATE OF HA WAIi

                                        CLARE E. CONNORS
                                        Attorney General
                                        State of Hawaii


                                            (fa=-
                                        CARON M. INAGAKI
                                        KENDALL J. MOSER
                                        RY AN M. AKAMINE
                                        Deputy Attorneys General

                                        Attorney for Defendant
                                        CLARE E. CONNORS, in her
                                        Official Capacity as the Attorney
                                        General of the State of Hawaii




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            DEFENDANT'S ANSWER TO PLAINTIFFS' FIRST SET OF
           INTERROGATORIES TO DEFENDANT CLARE E. CONNORS

             1.     Identify all documents you plan to introduce as evidence at the
     trial of this matter.

                RESPONSE:

     Defendant objects to this request as vague, ambiguous, premature, and calls
     for speculation, as at this early stage of litigation, Defendant cannot
     determine all the documents that she intends to use at trial. In addition, the
     documents responsive to this request are potentially as easily available to the
     Plaintiffs as they are to Defendant, and the required good cause or
     substantial need, as dictated by applicable statutes, court rules, and case law,
     has not been shown in support of the request.


                                             .seer
     Without waiving the above objections, Defendant responds as follows:
     At this time, Defendant anticipates relying on the statutory law and its prior
     iterations and legislative history, comments and conference committee
     reports and/or requesting that the court take judicial notice. All of these are
     as readily available to Plaintiffs as they are to Defendant. Discovery is
     continuing and Defendant will supplement her response to this interrogatory
     in accordance with applicable court rules.

           2.     Identify all persons or entities whom you or your
     representatives know or believe have knowledge of any discoverable matter.

                RESPONSE:

     Defendant objects to this request as vague, ambiguous, and calling for
     speculation. The phrase "discoverable matter" is overly broad and lacking
     context. Defendant further objects that this request may call for attorney
     work product, attorney-client communication, or other privileged or
     confidential infonnation.                 �


                                             CARON M. INAGAKI

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